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                  UNITED STATES DISTRICT COURT
              IN THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
                        __________________
MUNEEFA ABDULLAH,

               Plaintiff,
                                                      Case No:
vs.
                                                      Hon:
THE WALT DISNEY COMPANY,
a Delaware Corporation;
DISNEY ENTERPRISES, INC.,
a Delaware corporation;
WALT DISNEY PICTURES,
a California corporation;
WALT DISNEY MOTION PICTURES GROUP,
INC.,
a California corporation; and
JENNIFER LEE,

Jointly and severally liable

               Defendants.

Advanta Law, PLC
By: Steven D. Richter (P64117)
By: Mohamed J. Zaher (P52020)
Attorneys for Plaintiff
24300 Southfield, Rd., Suite 210
Southfield, MI 48075
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      COMPLAINT FOR COPYRIGHT INFRINGEMENT AND
                 DECLARATORY RELIEF
        Plaintiff, Muneefa Abdullah, by and through her attorneys, Advanta Law, PLC, hereby

alleges the following claims for relief in her complaint against Defendants:

                  STATEMENT OF JURISDICTION AND VENUE



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   1. This is a civil action seeking damages and injunctive relief for copyright infringement

      under the copyright laws of the United States (17 U.S.C. § 101 et seq.).

   2. This Court has original subject matter jurisdiction over this action and the claims asserted

      herein, pursuant to 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).

   3. Defendants are subject to personal jurisdiction of the Court because they reside, have

      agents, do or transact business, or are otherwise found, and have purposefully availed

      themselves of the privilege of doing business in Michigan and this District.

   4. Venue is proper in this District pursuant to 28 USC§1400(a) because Defendants have a

      regular and established place of business in this District and may be found in this District.

   5. Venue is also proper in this District pursuant to 28USC § 1391(b)(2) because a

      substantial part of the events or omissions giving rise to the claims occurred in this

      District and a substantial part of the property that is the subject of this action is situated in

      this District. Alternatively, venue is also proper in this District pursuant to 28 USC

      §139(b)(3) because there are regular and established places of business that may be found

      in this District.

                                            PARTIES

   6. At all times material hereto, Plaintiff has been residing in Kuwait. Plaintiff is the author

      and owner of the exclusive copyright to the book New Fairy Tales, with a Certificate of

      Registration number of: PA 1-860-757. New Fairy Tales is a compilation of three

      children’s stories, one of which is The Snow Princess.

   7. Plaintiff is informed and believes and thereon alleges that defendant Jennifer Lee is an

      individual living in California, and is duly authorized to do and doing business in this




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      District. Plaintiff is informed and believes and thereon alleges that defendant Jennifer Lee

      was the screenwriter and co-producer of the film, FROZEN.

   8. Plaintiff is informed and believes and thereon alleges that defendant The Walt Disney

      Company is a Delaware corporation with it principal place of business at 500 South

      Buena Vista Street, Burbank, California 91521, duly authorized to do and doing business

      in this District. At all times material hereto, The Walt Disney Company has been engaged

      in the business of, among other things, developing, producing, and distributing animated

      feature films. Plaintiff is informed and believes and thereon alleges that defendant The

      Walt Disney Company produced and released the movie entitled FROZEN and produced

      and released the Frozen teaser trailer and other trailers for FROZEN, all of which infringe

      upon Plaintiff’s copyright in New Fairy Tales.

   9. Plaintiff is informed and believes and thereon alleges that defendant Walt Disney Pictures

      is a California corporation with its principal place of business at 500 South Buena Vista

      Street, Burbank, California 91521, duly authorized to do and doing business in this

      District. Plaintiff is informed and believes and thereon alleges that defendant Walt

      Disney Pictures produced and released the movie entitled FROZEN and produced and

      released the Frozen teaser trailer and other trailers for FROZEN, all of which infringe

      upon Plaintiff’s copyright in New Fairy Tales.

   10. Plaintiff is informed and believes and thereon alleges that defendant Walt Disney Motion

      Pictures Group, Inc. is a California corporation with its principal place of business at 500

      Buena Vista Street, Burbank, California, 91521, duly authorized to do and doing business

      in this District. At all times material hereto, Walt Disney Motion Pictures Group, Inc. has

      been engaged in the business of, among other things, developing, producing, and




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      distributing animated feature films. Plaintiff is informed and believes and thereon alleges

      that defendant Walt Disney Motion Pictures Group, Inc. produced and released the movie

      entitled FROZEN and produced and released the Frozen teaser trailer and other trailers

      for FROZEN, all of which infringe upon Plaintiff’s copyright in New Fairy Tales.

   11. Plaintiff is informed and believes and thereon alleges that Defendant Disney Enterprises,

      Inc. is a California corporation with its principal place of business at 500 Buena Vista

      Street, Burbank, California, 91521, duly authorized to do and doing business in this

      District. At all times material hereto, Disney Enterprises, Inc. has been engaged in the

      business of, among other things, developing, producing, and distributing animated feature

      films. Plaintiff is informed and believes and thereon alleges that Defendant Disney

      Enterprises, Inc. produced and released the movie entitled FROZEN and produced and

      released the Frozen teaser trailer and other trailers for FROZEN, all of which infringe

      upon Plaintiff’s copyright in New Fairy Tales.



         FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

   12. Plaintiff has never licensed or otherwise authorized Defendants to copy, distribute, or

      publicly disseminate New Fairy Tales or The Snow Princess, or make derivative works

      based upon them.

   13. Plaintiff has complied in all respects with the Copyright Act of 1976 and all other laws

      governing copyright, and continues to be the sole proprietor of all right, title, and interest

      in and to the copyright. Publication of Plaintiff’s copyright was made with notice and in

      strict and full compliance with the Copyright Act of 1976.




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    14. New Fairy Tales contains a substantial amount of material created by Plaintiff’s own

       skill, labor, and judgment, and is copyrightable subject matter under the laws of the

       United States.

    15. FROZEN was widely released in movie theaters across the United States and

       internationally on November 27, 2013, including in public theaters in the State of

       Michigan. Upon information and belief, Plaintiff alleges that Defendants began

       production of FROZEN in or around 2011-2012.

    16. The FROZEN teaser trailer was published on the Internet on or around June 18, 20131,

       and it is believed to have appeared in movie theaters around the same time.

    17. A sing-along version of FROZEN was released in theaters in the United States on January

       31, 2014. FROZEN continues to be widely disseminated and available for viewing.

    18. On or about March 12, 2015, during its Annual Shareholder Meeting, Disney announced,

       “FROZEN 2 is in development at Walt Disney Animation Studios2.” No official date of

       release was announced, but Walt Disney Animation Studios did state that Jennifer Lee

       would be working as a co-director on FROZEN 2.

    19. There are numerous other works and/or consumer products that are being marketed as

       derivative of FROZEN and sold for Defendants’ benefit, including but not limited to

       Frozen Little Golden Book (Disney Frozen) and Frozen Fever.

    I. Substantial Similarities

    20. Plaintiff alleges that the key plot elements, characters, themes, events, setting, mood,

       pace, and dialogue in FROZEN demonstrate substantial similarities to The Snow



1
       http:// www.youtube.com/watch?v=-WdC4DaYIeQ,
2
       http://blo gs.disney.com/oh-my-disney/2015/03/12/frozen-2-is-officially-announced-and-
       we-are-crying-icy-tears-of-joy/.

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      Princess, and that such similarities are of a sort that indicate copying rather than

      independent creation, or coincidence.

   21. The Snow Princess is about a princess who possesses magical ice powers that give her the

      ability to turn people and objects into ice. As a child, the Snow Princess inadvertently

      caused the awakening of an evil dangerous witch through the use of her magical ice

      powers, and this caused the Snow Princess to go into hiding. In an effort to remain hidden

      from the public eye, the Snow Princess only surfaced at night. Similarly, FROZEN’s

      main character, Princess Elsa, also has the magical ability to turn people and objects into

      ice. When Elsa was still a child, her magical ice powers caused her to accidentally injure

      her sister, Anna, and as a result, Elsa decided to isolate herself in order to avoid hurting

      others with her ice powers.

   22. The Snow Princess eventually reunited with her brother, Prince John, at a Royal Ball. She

      had not seen John ever since the night that she awakened the dormant witch. Similarly, in

      FROZEN, Princess Elsa spent years in isolation from others, including her sister Anna,

      but the two sisters reunited on the day of Elsa’s coronation ceremony. In both stories,

      shortly after the siblings reunited as adults, the sibling with the magical ice powers issues

      a warning to the other sibling that, unless they leave and remain at distance, they would

      be at great risk of being harmed. In general, both princesses battle an internal struggle

      due to their fear of not being accepted for who they really are.

   23. Shortly after running into Prince John, the Snow Princess warned him that he should

      leave due to some sort of imminent and impending danger that he would face if he

      stayed. Prince John, however, refused to leave his sister’s side. FROZEN depicts Princess

      Elsa warning Princess Anna that she must leave the ice castle due to the danger that Anna




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      may face. The feared harm in both stories stems from the magical ice powers that are

      possessed by each princess. Just as Prince John refused to leave his sister’s side, despite

      her warnings, Princess Anna ignores the warnings and also stays.

   24. In The Snow Princess, soon after the siblings were reunited at the Ball, the music

      suddenly stopped, and the Kingdom began to shake and the wind blew heavily. The Snow

      Princess leaves the ball, and those that remained began to shiver and feel cold before

      suddenly turning into ice. In FROZEN, shortly after Elsa and Anna reunited as adults, the

      two attended Elsa’s coronation ceremony at their Kingdom, which was attended by most,

      if not all, of the town’s people. The party was then by the resurfacing of Princess Elsa’s

      magical ice powers, which lead to a series of rumbles and shakes just as the kingdom

      began turning into ice. In response to the ice and snow, those present at the party began

      shivering and feeling cold. At that point in FROZEN, Elsa became fearful and upset as

      she decided to quickly leave the Kingdom.

   25. In The Snow Princess, after the Snow Princess left the ball, Prince John and Prince

      Adrian decided to embark on a difficult journey up the mountains in search of John’s

      sister, the Snow Princess. They arrived at the mountaintop and discovered an icy castle

      that was guarded by snow soldiers. Once they defeated the snow guards and entered the

      castle, Prince John and Prince Adrian entered the castle and found that the Snow Princess

      had been frozen into a block of ice.

   26. In FROZEN, Anna also decided to go through a difficult journey up the mountains in

      search of her sister Elsa after she left the party. Anna finally reached the top of the

      mountain where she discovered an icy castle that was guarded by snow guards. Anna

      eventually gained entry into the icy castle, and discovered that her sister was inside.




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   27. In The Snow Princess, Prince Adrian and Prince John, acting on the advice of a talking

      dove, spoke to the Snow Princess about "good memories" and "beautiful things" in hopes

      of melting the ice around her body. After the Snow Princess was freed from the block of

      ice, the evil witch attempted to kill prince Adrian with a sword, but the Snow Princess

      was stabbed instead as she intervened in an attempt to save the Prince. The Princess’s

      selfless act of risking her life to save Prince Adrian was an act of love that was capable of

      thawing the Princess’s body and defeating the evil witch. The book clearly states that the

      witch was defeated by love.

   28. In FROZEN, Elsa accidentally struck Anna with her magical ice powers after Anna

      refused to leave the icy castle on the mountaintop. This caused Anna to gradually turn

      into ice. Based on the advice of a troll, Anna knew that "only an act of true love” would

      cure her from completely transforming into ice. The troll’s advice is almost exactly

      identical to the advice that was given by the talking dove in The Snow Princess. Towards

      the end of the movie, Anna saved Elsa’s life by intervening as the evil prince attempted

      to strike Elsa with a sword. After saving Elsa’s life, Anna’s body completely turned into

      ice, but thawed shortly after as Elsa hugged Anna’s icy body and began to cry out of love

      for her sister.

   29. As discussed above, The Snow Princess and FROZEN each involve, without limitation,

      the following: a princess possessing magical ice powers, a kingdom made of ice and

      surrounded by mountains, a sibling in search and rescue of the sibling possessing the

      magical ice powers, a journey up the mountain, snowy guards guarding an icy castle on

      the mountaintop, the idea that only love is capable of defeating evil, and the selfless

      sacrifice of oneself for the purpose of saving another from being struck by a sword.




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                 COUNT I-DIRECT COPYRIGHT INFRINGMENT

   30. Plaintiff incorporates by reference paragraphs 1 through 29, and re-alleges them here as

      though fully set forth herein.

   31. New Fairy Tales is an original work of authorship fixed in a tangible means of expression

      that constitutes a literary work pursuant to 17 U.S.C § 102(a) and that is subject to

      copyright protection under the Copyright Act, 17 U.S.C. §§ 101 et seq.

   32. Plaintiff’s exclusive rights to New Fairy Tales extend to each protectable component of

      New Fairy Tales, including the right to create derivative works.

   33. Plaintiff has the right and standing to enforce her exclusive rights to New Fairy Tales and

      its copyrightable component parts.

   34. At all times material hereto, Plaintiff has duly complied with all of the provisions of the

      copyright laws of the United States applicable to New Fairy Tales.

   35. Without the consent of Plaintiff and in complete disregard of Plaintiff’s rights, defendants

      infringed and continue to infringe Plaintiff’s copyrights within this judicial district and

      elsewhere in the United States by producing and releasing the movie FROZEN.

   36. Defendants had access to New Fairy Tales and The Snow Princess. New Fairy Tales was

      printed in 2007 through Trafford Publishing. Trafford Publishing was part of various

      corporate mergers and acquisitions that lasted from April of 2009 to July of 2013 before

      finally becoming part of the same publishing company that employed Jennifer Lee for 8

      years, Random House Publishing. Author Solutions, Inc. acquired Trafford publishing in

      2009, and Penguin Group, which eventually merged with Random House Publishing in

      2013, then acquired Author Solutions, Inc. Jennifer Lee worked for Random House

      Publishing from1992 until about 2001.



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    37. Lee’s history with Random House Publishing, as well as the fact that New Fairy Tales

       has BEEN available for sale through websites such as Amazon beginning since 2007,

       gave Lee reasonable opportunities to observe New Fairy Tale and The Snow Princess

       before she began screen writing FROZEN in 2012.

    38. Regardless of whether Plaintiff proves that Defendants had access to New Fairy Tales,

       the book is so substantially similar to FROZEN that Defendants’ access to New Fairy

       Tales should be presumed.

 COUNT II-CONTRIBUTORY COPYRIGHT INFRINGEMENT (17 U.S.C.A. §
                           501)

    39. Plaintiff incorporates by reference paragraphs 1 through 38, and re-alleges them here as

       though fully set forth herein. .

    40. Defendants knew or had reason to know of the infringement of Plaintiff’s copyrighted

       book, New Fairy Tales, specifically, The Snow Princess. By producing and releasing

       FROZEN, and in addition to directly organizing and effectuating such infringing

       activities, Defendants each also induced, caused, and materially contributed to infringing

       conduct both by each other and by third parties.

    41. Defendants undertook these actions both individually and jointly, and conspired and

       acted in concert with one another to accomplish the production and release of FROZEN,

       which they knew would violate and infringe Plaintiff’s copyrights to New Fairy Tales.

    42. Defendants’ infringing activities, as set in this complaint, were deliberate, intentional,

       malicious and willful.

    43. All Defendants, in addition to their liability for direct infringement of Plaintiff’s

       copyrights, are jointly and severally liable for contributory infringement of Plaintiff’s

       copyrights to New Fairy Tales.


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    44. Defendants’ actions have caused and will continue to cause irreparable damage to

       Plaintiff, for which Plaintiff has no remedy at law. Unless Defendants are restrained by

       this court from continuing their infringement of Plaintiff’s copyrights to New Fairy Tales,

       these injuries will continue to occur in the future. Plaintiff is accordingly entitled to

       injunctive relief restraining Defendants from further infringement.

   COUNT III-VICARIOUS COPYRIGHYT INFRINGEMENT (17 U.S.C.A. §
                             501)

    45. Plaintiff incorporates by reference paragraphs 1 through 44, and re-alleges them here as

       though fully set forth herein. .

    46. In addition to committing the direct and contributory acts of infringement in producing

       and releasing FROZEN, Defendants supervised and facilitated the production and release

       of FROZEN, and had the right and ability to control it. Further, Defendants had a direct

       financial interest in, and stood to gain a direct financial benefit from, the deliberate,

       malicious infringing activities.

    47. As a result of Defendants’ willful and deliberate conduct set forth above, Plaintiff has

       been, and will continue to be, damaged.

    48. Defendants, in addition to their liability for direct and contributory infringement of

       Plaintiff’s copyrights, are jointly and severally liable for vicarious infringement of

       Plaintiff’s copyrights to New Fairy Tales.

                       COUNT IV-DECLARATORY JUDGMENT

    49. Plaintiff incorporates by reference paragraphs 1 through 48, and re-alleges them here as

       though fully set forth herein.

    50. An actual controversy has arisen and now exists relating to the rights and duties of

       Plaintiff and Defendants under U.S. copyright laws in that Plaintiff contends that


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       Defendants' use, reproduction, marketing, sale, and distribution of FROZEN, the

       FROZEN teaser trailer, and other trailers affiliated with FROZEN infringe upon Plaintiff's

       exclusive copyrights in New Fairy Tales. Upon information and belief, Plaintiff alleges

       that Defendants contend that their use, reproduction, marketing, sale, and distribution of

       FROZEN, the FROZEN teaser trailer, and other trailers affiliated with FROZEN are

       lawful.

    51. A judicial declaration is necessary and appropriate at this time under the circumstances

       presented in order that the parties may ascertain their respective rights.

    52. Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 and 2202, and

       Rule 57 of the Federal Rules of Civil Procedure, Plaintiff is entitled to a judicial

       determination of her rights and a judicial declaration that Defendants' use, reproduction,

       marketing, sale, and distribution of FROZEN, the FROZEN teaser trailer, and other

       trailers affiliated with FROZEN infringe upon Plaintiff's exclusive rights in New Fairy

       Tales in violation of the U.S. copyright laws.

                                   PRAYER FOR RELIEF

    53. WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

    54. That Defendants be adjudged to have infringed upon Plaintiff's copyrights in New Fairy

       Tales, in violation of 17 U.S.C §§ and 501;

    55. That Defendants be required to account to Plaintiff for any and all profits derived by their

       exploitation of New Fairy Tales in all media, from all sources, worldwide;

    56. That Defendants be required to pay to plaintiff such damages as plaintiff has sustained in

       consequence of defendants' infringement of such copyrights, and to account for all gains,

       profits, and advantages derived by defendants through their respective infringements of



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        plaintiff's copyrights together with appropriate interest on such damages, as the court

        deems proper within the provisions of the copyright statutes.

    57. Plaintiff be awarded any profits derived by Defendants as a result of said acts, or as

        determined by said accounting, or in the alternative, statutory damages, pursuant to 17

        U.S.C §§ and 504;

    58. For a judicial declaration that Defendants’ use, reproduction, marketing, sale, and

        distribution of FROZEN, the FROZEN teaser trailer, and other trailers and productions

        affiliated with FROZEN other infringe upon Plaintiff’s exclusive rights in New Fairy

        Tales under the copyright laws;

    59. That Plaintiff be awarded her costs, attorneys' fees, and expenses in this action pursuant

        to 17 U.S.C §§ and 505;

    60. That Plaintiff be awarded pre-judgment interest; and

    61. That Plaintiff have such other and further relief as the Court may deem appropriate.




                               Respectfully Submitted,

                                                               Advanta Law, PLC
                                                               __/s/_Mohamed J. Zaher
                                                               By: Steven D. Richter (P64117)
                                                               By: Mohamed J. Zaher (P52020)
                                                               Attorneys for Plaintiff
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 Dated: April 13, 2015


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                            DEMAND FOR JURY TRIAL


 Plaintiffs demand a trial by jury:



                                                   Advanta Law, PLC
                                                   ___/s/__Mohamed J. Zaher____
                                                   By: Steven D. Richter (P64117)
                                                   By: Mohamed J. Zaher (P52020)
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 Dated: April 13, 2015




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